                                           OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS                    TELEPHONE
                                           FOR THE THIRD CIRCUIT                  215-597-2995
         CLERK                       21400 UNITED STATES COURTHOUSE
                                            601 MARKET STREET
                                        PHILADELPHIA, PA 19106-1790
                                     Website: www.ca3.uscourts.gov

                                            March 4, 2025



Farrin R. Anello, Esq.                               Molly K.C. Linhorst, Esq.
David N. Cinotti, Esq.                               John M. Miano, Esq.
David J. Goldsmith, Esq.                             McKaye L. Neumeister, Esq.
Alex Hemmer, Esq.                                    Bradley D. Simon, Esq.
Dominique Kilmartin, Esq.                            Brendan M. Walsh, Esq.
Thomas A. Kissane, Esq.                              Michael L. Zuckerman, Esq.
Nathaniel I. Levy, Esq.

RE: CoreCivic Inc v. Governor of New Jersey, et al
Case Number: 23-2598
District Court Case Number: 3:23-cv-00967


Dear Counsel:

The above-entitled case has been listed for disposition during the week of April 28,
2025.

Approximately 18 calendar days prior to the disposition week you will be advised of the
amount of time allocated by the panel, and the specific date on which argument will be
scheduled. Pursuant to Fed. R. App. P. 29(a)(8), an amicus curiae may participate in oral
argument only with the Court’s permission.
Page – 2 –



Counsel shall file an acknowledgment form within seven (7) days from the date of this
letter to provide the name of the attorney who will present oral argument. In addition,
please indicate whether or not counsel is a member of the bar of this Court. 1If the
attorney is not a member of the bar of this Court, an application for admission shall be
completed and submitted to this office without delay.


The hyperlinks for access to the acknowledgment form, application for admission, and
appearance form are provided for your convenience, and are also available on the Third
Circuit website. Please file your completed acknowledgment form through CM/ECF.

Counsel are also asked to update their PACER account with a cell phone number if one is
not already included. Such information will not be publicly accessible and will be used if
necessary to contact counsel expected to appear for oral arguments.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By:



Ashley Ritz
Calendar Clerk
267-299-4947




1
  Bar membership is not necessary if counsel represents a U.S. government agency or officer thereof or if the party
is appearing pro se.
